I concur with the conclusions reached and the reasoning supporting said conclusions as to questions 2(a) and 2(b). I also agree with the conclusions reached on the first question and generally with the reasoning. However, there are numerous statements of law set out in the opinion in connection with the consideration of question number one which I do not believe are necessary to the opinion. This is particularly true of the discussion of the relationships and duties of trustees and executors. I am not prepared to say that a trust, the terms of which are prescribed by a will, cannot come into existence until there is a decree of distribution transferring the assets or funds to the trustees as such. Title to the property did not in this case vest in the executors as such. See Chamberlain v.Larsen, 83 Utah 420, 29 P.2d 355. The will expressly provided that the property should go to the executors in trust for the benefit of the testator's four children. The provision read:
"To my executors, I give, devise and bequeath the balance and residue of my estate, * * * in trust, however, for the sole use and benefit of my four children, * * *."
It is true that the will did not set up the four distinct trust accounts, one for each of the four children. But it did vest title to the trust property in the executors as trustees.
The executors, following the direction of the will, set up the four trust accounts. Under the will each trust was to be administered until the beneficiary of that trust reached the age of 35, at which time the corpus of the trust was to be delivered to the beneficiary. The executors administered the trust accounts, and from time to time paid over the income from the trusts to the various beneficiaries. When Mary Roberts, one of the beneficiaries, reached the age of 35 the corpus of her trust was given to her. Kathryn had reached the age of 35 before her death, and it was time, under the terms of the will, to transfer the *Page 312 
corpus of Kathryn's trust account to the executor of Kathryn's estate. None of the beneficiaries objected to the procedure followed in administering the trusts. While the assets remained at all times subject to the over-all administration of the estate, and the executors would still be liable on their bond for mismanagement of the funds, I am not prepared to say that the trusts were not in existence for all purposes not inconsistent with management of the estate as such which includes payment of the debts. Not only was the testamentary trust under the control of the probate court during the administration of the estate, but under Secs. 102-12-31 and 33, U.C.A. 1943, the trustees would be under the control of the probate court even after distribution of the estate to them as trustees. There are cases indicating that where assets have clearly been set apart and appropriated by the executor to answer a particular trust, he will be considered to hold the funds as trustees for that trust and no longer as mere executor. Church, Probate and Practice, 2nd Ed., Vol. 2, p. 1959;Newcomb v. Williams, 9 Metc. 525; Joy v. Elton, 9 N.D. 428,83 N.W. 875. Since this matter is not necessary to a decision of this case I do not desire to conclude one way or the other on it. It is not without doubt and I see danger in definitely concluding in a case such as this that the trust cannot come into existence nor the trustee perform any functions under the trust until a decree of distribution is entered transferring the assets to him. For this and other reasons I must limit my concurrence. An opinion need not be a partial text book as to all propositions suggested but not required by the subject under consideration. My reasons for believing that the conclusions reached in answer to question number one are correct are as follows:
The record reveals that the administration of the estate had proceeded to a point where distribution of trust funds set up in an account for Kathryn was proper. The distribution was also in compliance with the terms and conditions of the will. On August 25th, 1944, the executors of the estate of John C. Howard, deceased, filed an account and *Page 313 
petitioned the court to approve the account and enter a decree of final distribution. Due notice was given of the filing of this petition. By this petition the executors asked the court to permit delivery of Kathryn's share of the estate to the person entitled to receive it. No objections were filed by any one to the granting of this part of the petition, although the respondent did file objections to certain items in the account. The court determined that the respondent was the person entitled to receive Kathryn's share of the estate and distributed the trust funds to him. The other assets representing Kathryn's share of the residue of the estate were retained to insure payment of any further costs of administration of the estate. The procedure for distributing the trust funds to the respondent was proper. All other propositions not necessary to reach this result need not be approved or disapproved. Since Mr. Chief Justice LARSON concludes that the trust funds were properly ordered by the court to be turned over to the respondent pursuant to the prayer of the petition for final distribution, there appears to be no need for a discussion of other possible grounds upon which the court might have attempted to order the surrender of the assets to respondent.